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                   Actual 770 Broadway Cure Costs Pg 1 of 2



                                 EXHIBIT A

                        Actual 770 Broadway Cure Costs
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                       Actual 770 Broadway     Cure
                                     770 BROADWAY OWNERCosts
                                                       LLC   Pg 2 of 2
                                                          OUTSTANDING CURE COSTS

               770 Broadway
               Pre‐Petition Expenses

                             Description                            Time Period           Invoice Date Invoice #   $ Amount
               Cash on Account                                                              03/17/2015                    (312)
               Water                                          02/01/2017‐03/01/2017         03/21/2017    30117            257
               Cash on Account                                                              10/23/2017                  (2,000)
               Real Estate Tax Adj.                             7/1/2017‐12/31/2017         11/22/2017     6591         (8,109)
               Water                                          10/01/2017‐11/01/2017         12/18/2017 110117              886
               Water                                          11/01/2017‐12/01/2017         12/18/2017 120117              206
               Water                                          12/01/2017‐01/01/2018         01/09/2018    10118            239
               Base Rent Credit                                   12/01/17‐12/31/17         01/11/2018                (106,228)
               Base Rent Credit                                   12/01/17‐12/31/17         01/11/2018                (317,126)
               Water                                          01/01/2018‐02/01/2018         02/13/2018    20108            287
               Trash                                                     02/19/2018         02/19/2018 109447            1,600
               Sales Tax                                                 02/19/2018         02/19/2018 109447              142
               Water                                          02/01/2018‐03/01/2018         03/13/2018    30118            169
               Water                                          03/01/2018‐04/01/2018         04/13/2018    40118            142
               Steam                                          12/01/2017‐01/01/2018         04/19/2018    10118          7,107
               Sales Tax                                      12/01/2017‐01/01/2018         04/19/2018    10118            631
               Steam                                          01/01/2018‐02/01/2018         04/19/2018    20118         13,122
               Sales Tax                                      01/01/2018‐02/01/2018         04/19/2018    20118          1,165
               Steam                                          03/01/2018‐04/01/2018         04/19/2018    40118          6,100
               Sales Tax                                      03/01/2018‐04/01/2018         04/19/2018    40118            541
               Steam                                          02/01/2018‐03/01/2018         04/19/2018 180301            7,343
               Sales Tax                                      02/01/2018‐03/01/2018         04/19/2018 180301              652
               Steam                                          04/01/2018‐05/01/2018         05/01/2018    50118          1,575
               Sales Tax                                      04/01/2018‐05/01/2018         05/01/2018    50118            140
               Water                                          04/01/2018‐05/01/2018         05/17/2018 180501              265
               Water                                          05/01/2018‐06/01/2018         06/13/2018    60118            662
               Water                                          06/01/2018‐07/01/2018         07/19/2018    70118          1,213
               Water                                          07/01/2018‐08/01/2018         08/17/2018    80118          1,278
               Water                                          08/01/2018‐09/01/2018         09/12/2018    90118          1,627
               Water                                          09/01/2018‐10/01/2018         10/10/2018 100118            1,324
               Water*                                         10/01/2018‐11/01/2018         11/13/2018 110118              727
               Base Rent                                          01/01/18‐01/31/18         01/11/2018                 179,739
               Base Rent                                          12/01/17‐12/31/17         01/11/2018                 139,153
               Base Rent                                           02/01/18‐2/28/18         02/01/2018                 179,739
               Credit On Account                                         02/05/2018         02/05/2018                 (53,643)
               Trash                                                     05/28/2018         05/28/2018 110156            1,600
               Sales Tax                                                 05/28/2018         05/28/2018 110156              142
               Tenant Improvement Overage                                06/04/2018         06/04/2018 110177           60,443
               Real Estate Tax Escalation*                    07/01/2018‐12/31/2018         07/01/2018 324654          731,740
               Vault Tax*                                         07/01/18‐06/30/19         08/07/2018    70118         27,804
               Trash                                                     08/27/2018         08/27/2018 110613              871
               Bounce Fee                                                10/23/2018         10/23/2018                      25
               Bounce Fee                                                10/26/2018         10/26/2018                      25
               Prepaid Rent                                              03/01/2018         03/01/2018    19009         (2,762)
               Professional Fees                                         09/30/2018         03/01/2019                 297,334
               Violation #2018‐089823                                    08/01/2018          2/20/2019                   8,000
               Subtotal                                                                                              1,185,837

               Adustments for Pre‐ & Post‐Petition Expenses
               (Less) 7/1/2018‐12/31/2018 Real Estate Tax Bill                                                       (731,740)
               (Plus) Adjusted charge for pre‐petition period (07/01/2018 ‐ 10/14/2018)                               421,546
               (Less) 10/1/2018‐11/01/2018 Water Bill                                                                    (727)
               (Plus) Adjusted charge for pre‐petition period (10/1/2018 ‐ 10/14/2018)                                    328
               (Less) 7/1/2018‐6/30/2019 Vault Tax Bill                                                               (27,804)
               (Plus) Adjusted charge for pre‐petition period (07/1/2018‐10/14/2018)                                    8,075
               Total Pre‐Petition Unpaid                                                                              855,516

               770 Broadway
               Post‐Petition Expenses

                             Description                           Time Period      Invoice Date Invoice #         $ Amount
               Water                                          11/01/2018‐12/01/2018   12/12/2018 120118                   288
               Water                                          12/01/2018‐01/01/2019   01/19/2019    10119                 430
               Real Estate Tax Escalation                      01/01/2019‐6/30/2019   01/01/2019 350603               731,740
               Water                                          01/01/2019‐02/01/2019    2/11/2019    20119                 188
               Trash                                          01/22/2019‐01/29/2019    2/18/2019 111935                   800
               Sales Tax                                      01/22/2019‐01/29/2019    2/18/2019 111935                    71
               Base Rent                                                 03/01/2019   03/01/2019 358116                   364
               Water                                           02/1/2019‐03/01/2019     4/2/2019    30119                  30
               Water                                          03/01/2019‐04/01/2019    4/12/2019    40119                   3
               Professional Fees                                1/18/2019‐4/26/2019    4/30/2019                          TBD
               Subtotal                                                                                               733,913

               Adustments for Pre‐ & Post‐Petition Expenses
               (Plus) Adjusted charge for post‐petition period (10/15/2018‐12/31/2018)                                310,194
               (Plus) Adjusted charge for post‐petition period (10/15/2018‐11/01/2018)                                    399
               (Plus) Adjusted charge for post‐petition period (10/15/2018‐06/30/2019)                                 19,729
               Total Post‐Petition Unpaid                                                                           1,064,235

               Total 770 Broadway Unpaid                                                                            1,919,751

               *Includes pre and post petition amounts.
